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                                      IN THE UNITED STATES DISTRICT COURT
                                       FOR THE WESTERN DISTRICT OF TEXAS
                                                 AUSTIN DIVISION

                LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-cv-00424-RP
                PURYEAR, KATHY KENNEDY,                    §
                REBECCA JONES, RICHARD DAY,                §
                CYNTHIA WARING, AND DIANE                  §
                MOSTER,                                    §
                                                           §
                   Plaintiffs,                             §
                                                           §
                           v.                              §
                                                           §
                LLANO COUNTY, RON CUNNINGHAM, §
                in his official capacity as Llano County   §
                Judge, JERRY DON MOSS, in his official §
                capacity as Llano County Commissioner,     §
                PETER JONES, in his official capacity as   §
                Llano County Commissioner, MIKE            §
                SANDOVAL, in his official capacity as      §
                Llano County Commissioner, LINDA           §
                RASCHKE, in her official capacity as Llano §
                County Commissioner, AMBER MILUM, §
                in her official capacity as Llano County   §
                Library System Director, BONNIE            §
                WALLACE, in her official capacity as       §
                Llano County Library Board Member,         §
                ROCHELLE WELLS, in her official            §
                capacity as Llano County Library Board     §
                Member, RHONDA SCHNEIDER, in her           §
                official capacity as Llano County Library  §
                Board Member, and GAY BASKIN, in her §
                official capacity as Llano County Library  §
                Board Member,                              §
                                                           §
                   Defendants.                             §



                              DECLARATION OF REBECCA JONES IN SUPPORT OF
                             PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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                     I, Rebecca Jones, declare:

                     1.      I make this declaration based on personal knowledge. If called upon to testify, I

            could and would testify competently to the following facts.

                     2.      I am a resident of Llano County. I have a library card that gives me access to

            books available in the Llano County public libraries. I have used my Llano County library card

            to check out books from the public libraries for several years. I read and listen to many different

            types of books on a variety of topics, including fiction and nonfiction books, and books written

            for children, young adults, and adults.

                     3.      I know that several books were removed from Llano County’s physical library

            collection, including the following: (1) Caste: The Origins of Our Discontent by Isabel

            Wilkerson; (2) They Called Themselves the K.K.K: The Birth of an American Terrorist Group by

            Susan Campbell Bartoletti; (3) Spinning by Tillie Walden; (4) In the Night Kitchen by Maurice

            Sendak; (5) It’s Perfectly Normal: Changing Bodies, Growing Up, Sex and Sexual Health by

            Robie Harris; (6) a read-aloud picture book series including My Butt is So Noisy!, I Broke My

            Butt!, and I Need a New Butt! by Dawn McMillan; (7) a read-aloud picture book series including

            Larry the Farting Leprechaun, Gary the Goose and His Gas on the Loose, Freddie the Farting

            Snowman, and Harvey the Heart Has Too Many Farts by Jane Bexley; (8) Being Jazz: My Life

            as a (Transgender) Teen by Jazz Jennings; (9) Shine by Lauren Myracle; (10) Gabi, a Girl in

            Pieces by Isabel Quintero; and (11) Freakboy by Kristin Elizabeth Clark. I cannot check out

            these books because they are no longer on library shelves or in the Llano County library catalog.

            I would check out these books in the future if they were returned to library shelves.




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                     4.      I have also attempted to access OverDrive with my Llano County library card

            without success. I would use my library card to access ebooks and audiobooks on OverDrive in

            the future if access to OverDrive were reinstated.

                     5.       It is difficult to express just how severely the removal of books and termination

            of OverDrive has impacted me. I used to consider the library the heart of my community, a safe

            place where I would have casual exchanges with interesting strangers, friends, and staff—all

            gathered in the same location because of our mutual love of knowledge and learning. We could

            exchange ideas without needing to prove a point. We could disagree with each other without

            threat of rejection. Now, the library feels quiet. It feels as if there are fewer interactions because

            a casual comment is as likely to bring down judgment as to elicit a thoughtful response. To me,

            in addition to being a gathering place for the community, the overwhelming benefit of a well-

            managed public library is the natural succession of new books replacing old on a scale that is not

            financially possible for most people. I used to relish searching the stacks for new material I

            might discover. Now I go to the library in fear that yet-to-be-discovered books will disappear

            from the shelves. I fear that important books will not be chosen in the first place to avoid public

            disapproval. I fear that simple minded zealots will reject the most interesting books because they

            are threatened by any idea that might challenge their fragile worldview. The Llano public library

            was such a wonderful institution and the actions of a handful of people have done immeasurable
            harm to it.


                     I swear under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct to the best of my knowledge.



            Dated: May 8, 2022                               By:
                                                                   Rebecca Jones




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